                    IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                CANTON DIVISION

                                             :
 IN RE:                                      :    Chapter 13
                                             :
 KENYATTA DONALD-RAY GINN,                   :    Case No. 22-60993
 MALLORY KYLE GINN,                          :
                                             :    Judge John P. Gustafson
 Debtors.                                    :
                                             :


                RESPONSE TO TRUSTEE’S MOTION TO DISMISS FOR
                FAILURE TO PROVIDE 2024 INCOME TAX RETURNS

        Now come Debtors Kenyatta Donald-Ray Ginn and Mallory Kyle Ginn, by and through
   the undersigned counsel, and respond to the Trustee’s pending Motion to Dismiss as follows:

   1.) 2024 Tax Returns were provided to the Trustee via Trustee’s Document Delivery Portal
       on May 9, 2025.

   2.) Debtors were three weeks beyond the tax filing deadline and assert excusable neglect.
       Debtors deny unreasonable delay in the administration of the case that is prejudicial to
       creditors.


WHEREFORE, Debtors respectfully request the Trustee’s motion be denied and another other
relief this Honorable Court deems appropriate.



                                             Respectfully submitted,



                                             /s/Jonathon C. Elgin
                                             Jonathon C. Elgin (0096390)
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                                             Attorney for Debtors




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                                CERTIFICATE OF SERVICE

I hereby certify that on May 9, 2025, a true and correct copy of the Motion to Dismiss Case and
Notice thereof was served via the Court’s Electronic Case Filing System upon these entities and
individuals who are listed on the Court’s Electronic Mail Notice List:

   •   Office of the United States Trustee at [RegisteredEmailAddress]@usdoj.gov
   •   Dynele L Schinker-Kuharich at DLSK@Chapter13Canton.com,
       trusteeOHNB09@ecf.epiqsystems.com

   and by regular U.S. mail, postage prepaid, upon:

   Kenyatta Donald-Ray Ginn, Debtor
   2000 Willowood Dr. N
   Mansfield, OH 44903

   Mallory Kyle Ginn, Debtor
   2000 Willowood Dr. N
   Mansfield, OH 44903
                                            /s/Jonathon C. Elgin
                                            Jonathon C. Elgin (0096390)




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